      6:16-cv-01570-DCC          Date Filed 02/04/19     Entry Number 37       Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    GREENVILLE DIVISION

United States of America, ex rel.            )       Civ. No.: 6:16-cv-01570-DCC
Maurice Shoe,                                )
                                             )
               Plaintiff,                    )
                                             )
               v.                            )
                                             )
North Greenville University,                 )
[UNDER SEAL],                                )
                                             )
              Defendants.                    )

              THE UNITED STATES’ AND RELATOR MAURICE SHOE’S
                       STIPULATION OF DISMISSAL OF
                 DEFENDANT NORTH GREENVILLE UNIVERSITY

       Pursuant to Federal Rule of Civil Procedure 41(a) the United States of America (“United

States”) and Relator Maurice Shoe (“Relator”) stipulate to the dismissal with prejudice of certain

claims in this Action against Defendant North Greenville University (“NGU”).

       1.      Pursuant to the simultaneously-filed Notice of The United States’ Election to

Partially Intervene, the United States, Relator, and NGU reached a settlement of the allegations in

the Relator’s complaint relating to NGU. This Stipulation of Dismissal is made pursuant to the

terms of the Settlement Agreement.

       2.      Relator and NGU have reached an agreement in principle as to attorneys’ fees and

costs but have not yet memorialized this agreement. Relator and NGU request that the Court retain

jurisdiction to adjudicate attorneys’ fees should the agreement not be memorialized for any reason.

       3.      The United States and Relator request that all other allegations against other

defendants contained in the Relator’s complaint remain under seal through the Court’s current seal

deadline of February 22, 2019, and through the extended seal deadline of March 29, 2019, should
      6:16-cv-01570-DCC         Date Filed 02/04/19      Entry Number 37      Page 2 of 3




the Court grant the United States’ simultaneously-filed Status Report and Motion to Extend Seal

Period.

          4.   No defendant has served or filed an answer, and no other parties have appeared

other than the United States and Relator.

          5.   A proposed Order is filed with this Joint Stipulation.


                                             Respectfully submitted,

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                                             District of South Carolina


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                                      By:
                                             [Relator’s counsel]


February 4, 2019

                                                 2
   6:16-cv-01570-DCC   Date Filed 02/04/19   Entry Number 37     Page 3 of 3




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February 1, 2019




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